Case 5:19-mj-00589-P Document1 Filed 11/08/19 Page 1 of 21

AO 106 (Rey. 04/010) Application for Search Warrant AUTHORIZED AND APPROVED/DATE: hate fli

UNITED STATES DISTRICT COURT

for the
WESTERN DISTRICT OF OKLAHOMA

 

In the Matter of the Search of
(Briefly describe the property to be search
Or identify the person by name and address)

INFORMATION ASSOCIATED WITH:
Dell All-In-One computer, serial number FLQB022;
Dell Laptop computer, serial number 9R923S1;
Western Digital hard drive, serial number
WCC1S7961393; Seagate hard drive, serial number
W1F4FBQR; Sandisk solid state drive, serial number
124675402476.

THAT IS STORED AT PREMISES CONTROLLED BY:
Currently Located at The Federal Bureau of
Investigation, Oklahoma City, Oklahoma

Case No: M-10,-5 §4- P

FILED

 

APPLICATION FOR SEARCH WARRANT
I, a federal law enforcement officer or attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following property (identify the person or describe property to
be searched and give its location):

See Attachment A, which is attached and incorporated by reference.

Located in the Western District of Oklahoma, there is now concealed (identify the person or describe the property to be
seized):

See Attachment B, which is attached and incorporated by reference.

The basis for the search under Fed. R. Crim.P.41(c) is (check one or more):

] evidence of the crime;
] contraband, fruits of crime, or other items illegally possessed;
property designed for use, intended for use, or used in committing a crime;
(] aperson to be arrested or a person who is unlawfully restrained.
The search is related to a violation of:
Code Section Offense Description
18 U.S.C. § 2252 Access, and attempt to access, with intent to view child
pornography

The application is based on these facts:

See attached Affidavit of Special Agent Richard Whisman, Federal Bureau of Investigation, which is incorporated by
reference herein.
Continued on the attached sheet(s).
L]_ Delayed notice of days (give exact ending date if more than 30 days) is requested under 18
U.S.C. § 3103a, the basis of which is set forth on the attached sheet(s).
Bed Una
RICHARD WHISMAN
Special Agent
Federal Bureau of Investigation
Case 5:19-mj-00589-P Document1 Filed 11/08/19 _Page 2 of 21

 

 

Sworn to before me and signed in my presence. _ pli)
Date: ! | / //F aig, p C/A
‘ " f Judge's signature a

City and State: Oklahoma City, Oklahoma GARY M. PURCELL, U.S. Magistrate Jwfige

Printed name and title
Case 5:19-mj-00589-P Document1 Filed 11/08/19 Page 3 of 21

ATTACHMENT A
Property to Be Searched
The property items to be searched are: a Dell All-In-One computer with serial number
FLQB022, a Dell Laptop computer with serial number 9R923S1, a Western Digital hard drive
with serial number WCC1S7961393, a Seagate hard drive with serial number W1F4FBQR, and a
SanDisk solid state drive with serial number 124675402476, which are currently in the

possession of the Federal Bureau of Investigation in Oklahoma City, Oklahoma.
Case 5:19-mj-00589-P Document1 Filed 11/08/19 Page 4 of 21

ATTACHMENT B
Particular Things to be seized

The following materials, which constitute evidence of the commission of a criminal offense,
contraband, the fruits of crime, or property designed or intended for use or which is or has been
used as the means of committing a criminal offense, namely violations of Title 18, United States
Code, Section 2252, for distributing and accessing, and attempting to access, with intent to view
child pornography:

1, For any computer or storage medium whose seizure is otherwise authorized by this
warrant, and any computer or storage medium that contains or in which is stored records
or information that is otherwise called for by this warrant (hereinafter, “COMPUTER”):
a. evidence of who used, owned, or controlled the COMPUTER at the time the

things described in this warrant were created, edited, or deleted, such as logs,
registry entries, configuration files, saved usernames and passwords, documents,
browsing history, user profiles, email, email contacts, “chat,” instant messaging
logs, photographs, and correspondence;

b. evidence of software that would allow others to control the COMPUTER, such as
viruses, Trojan horses, and other forms of malicious software, as well as evidence
of the presence or absence of security software designed to detect malicious
software;
evidence of the lack of such malicious software;

d. evidence indicating how and when the computer was accessed or used to
determine the chronological context of computer access, use, and events relating
to crime under investigation and to the computer user;

e. evidence indicating the computer user’s state of mind as it relates to the crime
under investigation;

f. evidence of the attachment to the COMPUTER of other storage devices or similar
containers for electronic evidence;

g. evidence of counter-forensic programs (and associated data) that are designed to
eliminate data from the COMPUTER;

h. evidence of the times the COMPUTER was used;
Case 5:19-mj-00589-P Document 1 Filed 11/08/19 Page 5 of 21

1. passwords, encryption keys, and other access devices that may be necessary to
access the COMPUTER;

j. documentation and manuals that may be necessary to access the COMPUTER or
to conduct a forensic examination of the COMPUTER;

k. records of or information about Internet Protocol addresses used by the
COMPUTER;

1. records of or information about the COMPUTER’s Internet activity, including
firewall logs, caches, browser history and cookies, “bookmarked” or “favorite”
web pages, search terms that the user entered into any Internet search engine, and

records of user-typed web addresses; and

m. contextual information necessary to understand the evidence described in this
attachment.
n. Child pornography and child erotica, and evidence of accessing the same.

The term “computer” includes all types of electronic, magnetic, optical, electrochemical, or other
high speed data processing devices performing logical, arithmetic, or storage functions, including
desktop computers, notebook computers, mobile phones, tablets, server computers, and network

hardware.

The term “storage medium” includes any physical object upon which computer data can be
recorded. Examples include hard disks, RAM, floppy disks, flash memory, CD-ROMs, and

other magnetic or optical media.
Case 5:19-mj-00589-P Document 1 Filed 11/08/19 Page 6 of 21

THE UNITED STATES DISTRICT COURT FOR THE WESTERN
DISTRICT OF OKLAHOMA

AFFIDAVIT IN SUPPORT OF SEARCH WARRANT

I, Richard Whisman, being first duly sworn, hereby depose and state as follows:

Introduction and Agent Background

I make this affidavit in support of an application under Rule 41 of the Federal Rules of
Criminal Procedure for a search warrant authorizing the examination of property, which are
electronic devices, currently in law enforcement possession, and the extraction from that

property of electronically stored information described in Attachment B.

1. I am a Special Agent with the Federal Bureau of Investigation, and have been for
approximately Seventeen years. I am currently assigned to the Tulsa Resident Agency of the
Oklahoma City Division. Prior to becoming a Special Agent with the FBI, I was employed for
about seven years as a Police Officer with the West Chicago, Illinois Police Department. Since
joining the FBI, I have investigated violations of federal law, to include federal violations
concerming computer crimes and child exploitation. ] have gained experience through training in
classes and work related to conducting these types of investigations. Further, as a federal agent, I
am authorized to investigate violations of laws of the United States and to execute warrants

issued under the authority of the United States.

Identification of the Devices to be Examined

2. The property items to be searched are: a Dell All-In-One computer with serial

number FLQB022, a Dell Laptop computer with serial number 9R923S1, a Western Digital hard
Case 5:19-mj-00589-P Document1 Filed 11/08/19 Page 7 of 21

drive with serial number WCC1S7961393, a Seagate hard drive with serial number W1F4FBQR,
and a SanDisk solid state drive with serial number 124675402476. These items are currently in
the possession of the Federal Bureau of Investigation in Oklahoma City, Oklahoma, hereinafter
the “Devices.”

3. The facts in this affidavit come from my personal observations, my training and
experience, and information obtained from other law enforcement officers and witnesses. This
affidavit is intended to show merely that there is sufficient probable cause for the requested
warrant and does not set forth all of my knowledge about this matter.

4. Based on the facts set forth in this affidavit, there is probable cause to believe that
violations of Title 18, United States Code, Section 2252 (access, and attempt to access, with
intent to view child pornography) are presently located ON the Devices. There is also probable

cause to search the Devices as described in Attachment A for evidence of these crimes as listed

in Attachment B.
Background On Computers And Child Pornography
5. Computers and computer technology have revolutionized the way in which

individuals interested in child pornography interact with each other. Child pornography formerly
was produced using cameras and film (either still photography or movies). The photographs
required darkroom facilities and a significant amount of skill in order to develop and reproduce
the images. There were definable costs involved with the production of pornographic images. To
distribute these images on any scale required significant resources. The photographs themselves
were somewhat bulky and required secure storage to prevent their exposure to the public. The
distribution of these wares was accomplished through a combination of personal contacts,

mailings, and telephone calls.
Case 5:19-mj-00589-P Document 1 Filed 11/08/19 Page 8 of 21

6. The development of computers has changed this; computers serve four basic
functions in connection with child pornography: production, communication, distribution, and
storage.

7. Child pornographers can now transfer photographs from a camera onto a
computer readable format with a device known as a scanner. With the advent of digital cameras,
the images can be transferred directly onto a computer. A device known as a modem allows any
computer to connect to another computer through the use of telephone, cable, or wireless
connection. Electronic contact can be made to literally millions of computers around the world.

8. The computer's ability to store images in digital form makes the computer itself
an ideal repository for child pornography. The storage capability of the electronic storage media
(commonly referred to as the hard drive) used in home computers has grown tremendously over
the years. These drives can store hundreds of thousands of images at a very high resolution.

9. The Internet and its World Wide Web afford collectors of child pornography
several different venues for obtaining, viewing and trading child pornography in a relatively
secure and anonymous fashion.

10. Collectors and distributors of child pornography also use online resources to
retrieve and store child pornography, including services offered by Internet Portals such as
Yahoo!, Microsoft, and Google, among others. The online services allow a user to set up an
account with a remote computing service that provides e mail services as well as electronic
storage of computer files in a variety of formats. A user can set up an online storage account
from any computer with access to the Internet. Evidence of such online storage of child

pornography is often found on the user's computer.
Case 5:19-mj-00589-P Document1 Filed 11/08/19 Page 9 of 21

11. Asis the case with most digital technology, communications by way of computer
can be saved or stored on the computer used for these purposes. Storing this information can be
intentional, i.e., by saving an e mail as a file on the computer or saving the location of one's
favorite websites in, for example, "bookmarked" files. Digital information can also be retained
unintentionally, e.g., traces of the path of an electronic communication may be automatically
stored in many places (e.g., temporary files or Internet Service Provider client software, among
others). In addition to electronic communications, a computer user's Internet activities generally
leave traces or "footprints" in the web cache and history files of the browser used. A forensic
examiner can often recover evidence which shows that a computer contains peer to peer
software, when the computer was sharing files, and even some of the files which were uploaded
or downloaded. Such information may be maintained indefinitely until overwritten by other data.

12. A popular tool used by individuals involved in the collection and distribution of
child pornography on the Internet, is peer to peer file sharing (hereinafter, "P2P"). P2P file
sharing is a method of communication available to Internet users through the use of special
software. Computers linked together through the Internet using this software form a network that
allows for the sharing of digital files between users on the network. P2P software is readily
available for download on the Internet and is often available for free. In general, P2P software
allows the user to set-up file(s) on his computer so that the files can be shared with others
running compatible P2P software. In essence, a user allows his computer to be searched and
accessed by other users of the network. If another user finds a file of interest on his computer, the
P2P software allows that other user to download the file from your computer. A user obtains files
by opening the P2P software on his computer and typing in a search term or terms. The P2P

software then conducts a search of all computers connected to that network to determine whether
Case 5:19-mj-00589-P Document1 Filed 11/08/19 Page 10 of 21

any files matching the search term are currently being shared by any other user on that network.
The P2P software programs known as eMule, Ares Galaxy, LimeWire, FrostWire, and many
other types of P2P software, sets up its searches by keywords. The results of a keyword search
are displayed to the user. The user then selects file(s) from the results for download. The
download of a file is achieved through a direct connection between the computer requesting the
file and one or more computers on the same network containing the file.

13. The strength of the P2P Networks is that they base all of their file shares on a
hashing algorithm. Hashing uses mathematical algorithms which allows for the creation of an
alpha-numeric value specific and unique to that file, which is the equivalent of a digital
fingerprinting of the file. For example, once you check a file with a Secure Hash Algorithm
(SHA-1) hashing utility capable of generating this SHA-1 value (the digital fingerprint), that will
be a fixed-length unique identifier for that file. The SHA-1 is called secure because it is
computationally infeasible for two files with different content to have the same SHA-1 hash
value. Law Enforcement can search the P2P networks to locate individuals sharing previously
identified child exploitation material in the same way a user searches this network. When a user
on the P2P network offers a file to trade, the P2P software used by law enforcement calculates a
"hash value" of the file using a SHA-1 hash. A person may copy a file and rename it but if it is
an exact copy, regardless of the name of the file, it will have the same hash value.

14. Most P2P programs allow users to designate specific folder(s) as "shared" folders.
Any files contained in those specific folders are then made available for download by other users
on the same P2P network. P2P software users typically do not "share" all of the files on their

hard drive.
Case 5:19-mj-00589-P Document 1 Filed 11/08/19 Page 11 of 21

15. The BitTorrent network is a very popular and publically available P2P file-
sharing network. Most computers that are part of this network are referred to as "peers" or
"clients," hereafter referred to as a peer. A peer can download files from other peers
simultaneously, and provide these files to other peers.

16. The BitTorrent network can be accessed by computers via many different client
(software) programs, such as the "BitTorrent" program, the "Torrent" program, the "BitLord"
program, and the "Vuze" program, to name a few. These client programs are publicly available,
typically free, and can be downloaded from the Internet.

17. During the query and/or downloading process from a suspect BitTorrent network
client, certain information may be exchanged between an investigator's BitTorrent client program
and the suspect client program they are querying and/or downloading a file from. This
information includes 1) the suspect client's IP address; 2) a confirmation from the suspect client
that they have pieces of the file(s) being requested, in whole or in part, and that the pieces of the
file(s) are being reported as shared from the suspect client program; and 3) the BitTorrent
network client program and version being utilized by the suspect computer. Law enforcement
has the ability to log this information.

18. A P2P file transfer is assisted by reference to an Internet Protocol (IP) address.
This address is unique to a particular computer during a specific online session. The IP address
provides a unique "location," or address, as to each computer, making it possible for data to be
transferred between computers.

19. | The computer running P2P software has an IP address assigned to it while it is
connected to the Internet. Investigators are able to see the IP address of any computer system

sharing files. Investigators can then search public records that are available on the Internet to
Case 5:19-mj-00589-P Document 1 Filed 11/08/19 Page 12 of 21

determine the specific Internet Service Provider (ISP) who has assigned that IP address to that
computer. ISPs maintain logs and records which reflect the specific IP addresses it assigned to
specific computers that connect to the Internet through that [SP at any given moment. Based
upon the IP address assigned to the computer sharing files, subscriber information then can be
obtained from the ISP which contains identifying information of the individual to whom the
account is registered.

20. | The computers that are linked together to form the P2P network are located
throughout the world; therefore, the P2P network operates in interstate and foreign commerce. A
person who includes child pornography files in his/her "shared" folder is hosting child
pornography and therefore is promoting, presenting, and potentially distributing child
pornography. A person who hosts child pornography is in violation of Title 18, United States
Code, Section 2252 in that he/she is promoting and presenting child pornography in interstate

and foreign commerce by means of a computer.

Probable Cause

21. On Tuesday, April 17, 2018, I was conducting an online investigation on the
BitTorrent network for offenders sharing child pornography. An investigation was initiated for a
device at IP address 24.117.229.133 because it was associated with several torrents that had at
least one file which had been identified as being a file of investigative interest to child
pornography investigations. Using a computer running investigative BitTorrent software, a direct
connection was made to the device at IP address 24.117.229.133, hereinafter referred to as
“Suspect Device”. The Suspect Device reported it was using BitTorrent client software -

BL24532 BitLord 2.4.5.
Case 5:19-mj-00589-P Document1 Filed 11/08/19 Page 13 of 21

22. Between April 17, 2018 and April 25, 2018, through the use of investigative
BitTorrent software, I completely downloaded a total of 2,304 files directly from IP Address
24.117.229.133. Some of the downloaded files were padding files, which are related to the
torrent file and did not actually contain any images or videos. I reviewed the downloaded files
and found that 1,282 files depicted child pornography. Many of the files that were not padding
files or child pornography files could be classified as child erotica. Of the files that depicted
child pornography, 1,275 were image files and 7 were video files. Included in the some of the
downloaded child pornography files were some that depicted bestiality and some that depicted
bondage. In some cases attempts were made at downloading files from the same torrent on more
than one occasion. Attempts were made at downloading files that were associated with 10
different torrents.

23. Below are examples of some of the child pornography files downloaded from IP
address 24.117.229.133, listed by filename:

a. (Pthc) 11Yo Sara Loves To Suck Cock (4 Parts Combined By H 12-2008).avi:
This is a video file that depicts a young minor female performing oral sex on an
adult male’s penis.

b. IMG _0383.jpg: This is an image file that depicts an adult male having vaginal sex

with a minor female who appears to be under 10 years of age.

24. An online query of the IP address 24.117.229.133 through the American Registry
for Internet Numbers identified the IP address to be registered to Cable One. An administrative
subpoena was issued to Cable One requesting subscriber information for the user of this IP

address during the time the files were downloaded between April 17, 2018 and April 25, 2018.
Case 5:19-mj-00589-P Document1 Filed 11/08/19 Page 14 of 21

The resulting information from Cable One revealed the subscriber was Patricia Sheats with an
address of 116 North Rogers Avenue, Bartlesville, Oklahoma.

25, On September 09, 2019 I travelled to 116 North Rogers Avenue in Bartlesville,
Oklahoma with FBI Task Force Officers to investigate the above described BitTorrent activity.
Agents (who did not have a search warrant) knocked on the door of the home upon arrival and
identified themselves as law enforcement, requesting someone to answer the door. A few
moments later a male who identified himself as Patrick Aaron Sheats answered the rear door of
the home. Agents advised Sheats of the nature of their visit and subsequently interviewed Sheats
outside. Through the course of the interview Sheats provided his consent for Agents to search
multiple electronic Devices, which were inside his home. One such device was a Dell All-In-
One computer having serial number FLQB022. This computer was searched during the
interview of Sheats through the use of a program called OS Triage. The OS Triage program
identified child pornography files and related activity on the Dell All-In-One computer. Sheats
initially denied being involved in child pornography but later admitted to his activities. Sheats
described that he would search for child pornography torrents on the internet and then download
them using BitTorrent. Sheats claimed to have first seen child pornography about 2 years prior
and denied downloading any child pornography in the past 5 or 6 months. Sheats admitted that
the child pornography activity detected by Agents in April of 2018 would have been committed
by him.

26. During the course of the interview Sheats provided consent to search the
following devices that he provided to Agents from his home:

e Dell All-In-One computer, serial number FLQB022

e Dell Laptop computer, serial number 9R923S1
Case 5:19-mj-00589-P Document 1 Filed 11/08/19 Page 15 of 21

27.

Western Digital hard drive, serial number WCC1S7961393

Seagate hard drive, serial number W1F4FBQR

SanDisk solid state drive, serial number 124675402476

The Devices were returned to the Tulsa Resident Agency of the FBI and entered
into evidence. The devices have been transferred to the FBI’s Oklahoma City
Division headquarters office where an examination of the devices will be
completed.

Below are descriptions of some of the child pornography files located during the

search of the Dell All-In-One computer using the OS Triage program on September 09, 2019:

a. pthc ohdaddyl-7 5yo fucked by daddy (very excellent).avi: This is a video file

c.

28.

that depicts an adult male having vaginal sex with a minor girl who appears to be
under 10 years of age.

russian kids 2-bambina(3).avi: This is a video file that depicts a minor female
who appears not to have yet reached the age of puberty performing oral sex on an
adult male.

russian kids 2-bambina(3).avi: This is a video file that depicts a minor female who
appears to be under the age of 10 and an adult male. The video shows the minor
female performing oral sex on the adult male and the adult male having vaginal
sex with the minor female.

FORENSIC ANALYSIS

Based on my knowledge, training, and experience, I know that electronic devices,

such as a computer and hard drive can store information for long periods of time. Similarly,

things that have been viewed via the internet and various software applications are typically

stored for some period of time on the device. This information can sometimes be recovered with

forensics tools. I know that digital files, such as child pornography pictures and videos, can be

transferred from one device to another; copies can also be stored simultaneously on multiple

devices. Thus, I’m requesting to search all of the Devices, not just the Dell All-In-One computer

10
Case 5:19-mj-00589-P Document1 Filed 11/08/19 Page 16 of 21

described above. I know based on my training and experience that child pornography collectors

such as Sheats often store their collections on multiple devices.

29. Forensic evidence. As further described in Attachment B, this application seeks
permission to locate not only electronically stored information that might serve as direct
evidence of the crimes described on the warrant, but also forensic evidence that establishes how
the Devices were used, the purpose of its use, who used it, and when. There is probable cause to

believe that this forensic electronic evidence might be on the Devices because:

a. Data on the storage medium can provide evidence of a file that was once on the

storage medium but has since been deleted or edited.

b. Forensic evidence on a device can also indicate who has used or controlled the
device. This “user attribution” evidence is analogous to the search for “indicia of

occupancy” while executing a search warrant at a residence.

c. A person with appropriate familiarity with how an electronic device works may,
after examining this forensic evidence in its proper context, be able to draw
conclusions about how electronic devices were used, the purpose of their use, who

used them, and when.

d. The process of identifying the exact electronically stored information on a storage
medium that are necessary to draw an accurate conclusion is a dynamic process.
Electronic evidence is not always data that can be merely reviewed by a review
team and passed along to investigators. Whether data stored on a device is
evidence may depend on other information stored on the device and the
application of knowledge about how a device behaves. Therefore, contextual

11
Case 5:19-mj-00589-P Document1 Filed 11/08/19 Page 17 of 21

information necessary to understand other evidence also falls within the scope of

the warrant.

e. Further, in finding evidence of how a device was used, the purpose of its use, who
used it, and when, sometimes it is necessary to establish that a particular thing is

not present on a storage medium.

30. Nature of examination. Based on the foregoing, and consistent with Rule
41(e)(2)(B), the warrant J] am applying for would permit the examination of the devices
consistent with the warrant. The examination may require authorities to employ techniques,
including but not limited to computer-assisted scans of the entire medium, that might expose
many parts of the device to human inspection in order to determine whether it is evidence

described by the warrant.

31. | Manner of execution. Because this warrant seeks only permission to examine a
device already in law enforcement’s possession, the execution of this warrant does not involve
the physical intrusion onto a premises. Consequently, I submit there is reasonable cause for the

Court to authorize execution of the warrant at any time in the day or night.

12
Case 5:19-mj-00589-P Document 1 Filed 11/08/19 Page 18 of 21

Conclusion
a2. I submit that this affidavit supports probable cause for a search warrant
authorizing the examination of the Devices described in Attachment A to seek the items

described in Attachment B.

Respectfully submitted,

Richard Whisman
Special Agent

Federal Bureau of Investigation

+

SUBSCRIBED and SWORN to before me on the day of November, 2019

 

13
Case 5:19-mj-00589-P Document1 Filed 11/08/19 Page 19 of 21

ATTACHMENT A
Property to Be Searched
The property items to be searched are: a Dell All-In-One computer with serial number
FLQB022, a Dell Laptop computer with serial number 9R923S1, a Western Digital hard drive
with serial number WCC1S7961393, a Seagate hard drive with serial number W1F4FBQR, and a
SanDisk solid state drive with serial number 124675402476, which are currently in the

possession of the Federal Bureau of Investigation in Oklahoma City, Oklahoma.
Case 5:19-mj-00589-P Document 1 Filed 11/08/19 Page 20 of 21

ATTACHMENT B
Particular Things to be seized

The following materials, which constitute evidence of the commission of a criminal offense,
contraband, the fruits of crime, or property designed or intended for use or which is or has been
used as the means of committing a criminal offense, namely violations of Title 18, United States
Code, Section 2252, for distributing and accessing, and attempting to access, with intent to view
child pornography:
2 For any computer or storage medium whose seizure is otherwise authorized by this
warrant, and any computer or storage medium that contains or in which is stored records
or information that is otherwise called for by this warrant (hereinafter, “COMPUTER”):
a. evidence of who used, owned, or controlled the COMPUTER at the time the
things described in this warrant were created, edited, or deleted, such as logs,
registry entries, configuration files, saved usernames and passwords, documents,
browsing history, user profiles, email, email contacts, “chat,” instant messaging
logs, photographs, and correspondence;

b. evidence of software that would allow others to control the COMPUTER, such as
viruses, Trojan horses, and other forms of malicious software, as well as evidence

of the presence or absence of security software designed to detect malicious

software;
Cc. evidence of the lack of such malicious software;
d. evidence indicating how and when the computer was accessed or used to

determine the chronological context of computer access, use, and events relating
to crime under investigation and to the computer user;

cc evidence indicating the computer user’s state of mind as it relates to the crime
under investigation;

is evidence of the attachment to the COMPUTER of other storage devices or similar
containers for electronic evidence;

g. evidence of counter-forensic programs (and associated data) that are designed to
eliminate data from the COMPUTER;

h. evidence of the times the COMPUTER was used;

JU)
3S
Case 5:19-mj-00589-P Document 1 Filed 11/08/19 Page 21 of 21

i. passwords, encryption keys, and other access devices that may be necessary to
access the COMPUTER;
is documentation and manuals that may be necessary to access the COMPUTER or

to conduct a forensic examination of the COMPUTER;

k. records of or information about Internet Protocol addresses used by the
COMPUTER;
l. records of or information about the COMPUTER’s Internet activity, including

firewall logs, caches, browser history and cookies, “bookmarked” or “favorite”
web pages, search terms that the user entered into any Internet search engine, and

records of user-typed web addresses; and

m. contextual information necessary to understand the evidence described in this
attachment.
n. Child pornography and child erotica, and evidence of accessing the same.

The term “computer” includes all types of electronic, magnetic, optical, electrochemical, or other
high speed data processing devices performing logical, arithmetic, or storage functions, including
desktop computers, notebook computers, mobile phones, tablets, server computers, and network

hardware.

The term “storage medium” includes any physical object upon which computer data can be
recorded. Examples include hard disks, RAM, floppy disks, flash memory, CD-ROMs, and

other magnetic or optical media.
